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MOW 3007-1.1    (4/2021)



                           IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF MISSOURI

IN RE:                                                       )
                                                             )
INTERSTATE UNDERGROUND WAREHOUSE                             )
     AND INDUSTRIAL PARK, INC.                               )      Case. No. 21-40834
                                                             )      Chapter 11
                                 Debtor.                     )

                                      OBJECTION TO CLAIM

       Comes now Movant Interstate Underground Warehouse and Industrial Park, Inc., and
hereby objects to the Proof of Claim filed by creditor Kline Van and Specialty Rental, LLC, in
the amount of $11,500,000.00, and filed on October 28, 2021. The court claim number is 17-1.

     Your claim may be reduced, modified, or eliminated. You should read this
document carefully and discuss it with your attorney if you have one.

    Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the
    Objection in which to file a Response if you do not want the court to eliminate or change your
    claim. The Response shall be in writing and state why the claim should be allowed as filed.
    If a Response is filed, the Court will schedule a hearing. If no timely Response is filed, the
    Court will enter an Order sustaining the Objection to the Claim. Parties not represented by an
    attorney shall mail a Response to the Court at U.S. Bankruptcy Court, 400 E. 9th St., Room
    1510, Kansas City, MO 64106. Debtor(s) not represented by an attorney must be served a
    copy of the Response by regular mail. If your Response is mailed, it must be early enough so
    that the court will receive it on or before 30 days after service of the Objection.

The basis for the objection is as follows: (PLEASE CHECK ONLY THE APPLICABLE
BOXES)

☒        The claim should be disallowed entirely because:

    (a) The claim is one for damages as a result of a fire loss at the Debtor’s caves where this
        Claimant was a tenant and stored property. The Claimant filed a lawsuit in the Circuit
        Court of Jackson County Missouri, Case No. 1916-CV32949, naming Debtor, Sammy Jo
        Reeder and Wayne Reeder. The lawsuit is pending, and no settlement (to the
        undersigned’s knowledge) has been reached.

    (b) There is insurance coverage, and the insurance company has retained counsel to
represented and defend the Debtor in said litigation.

    (c) In the event the Court allows the Claimant to assert a claim against the Debtor, pursuant
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to 11 U.S.C. Section 502( c), the Court may estimate a claim for allowance purposes that is contingent or
unliquidated, when failing to do so would unduly delay the administration of this Chapter 11 proceeding.

Dated: 1/28/2022                                            KRIGEL & KRIGEL, P.C.


                                                             /s/ Erlene W. Krigel
                                                            Erlene W. Krigel, MO #29416
                                                            4520 Main St., Ste. 700
                                                            Kansas City, MO 64111
                                                            Telephone: (816) 756-5800
                                                            Fax: (816) 756-1999
                                                            Email: ekrigel@krigelandkrigel.com
                                                            ATTORNEYS FOR DEBTOR

                                    CERTIFICATE OF SERVICE

I Erlene W. Krigel, hereby certify that a true and correct copy of the Objection to Claim was
mailed to Kline Van and Specialty Rental LLC, by first class mail this 28th day of January,
2022:

Conroy Baran
c/o Robert S. Baran
1361 St. Louis Ave., 2nd Fl.
Kansas City, MO 64101

Brett Votava
Votava Nantz & Johnson LLC
9237 Ward Parkway Suite 100
Kansas City MO 64111


And all other interested parties received notice electronically via the court’s Electronic System.


Dated: 1/28/2022                                                    /s/ Erlene W. Krigel
                                                                    Erlene W. Krigel

Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106

Instructions: Complete all parts of the form and serve on the affected parties

ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
